         Case 3:21-cv-00022-CAR Document 1 Filed 03/10/21 Page 1 of 16




                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF GEORGIA
                                ATHENS DIVISION

 DESIGN MART, LLC,                           )
                                             )                Civil Action File No.
               Plaintiff,                    )
                                             )              _______________________
 v.                                          )
                                             )
 A. MATALUCCI & SON MEMORIAL                 )
 ARTISANS, LLC,                              )          JURY TRIAL DEMANDED
                                             )
               Defendant.                    )


            COMPLAINT FOR COPYRIGHT INFRINGEMENT, DAMAGES,
                         AND INJUNCTIVE RELIEF

       COMES NOW Plaintiff Design Mart, LLC (“Design Mart” or “Plaintiff”) and, for its

Complaint for Copyright Infringement, Damages, and Injunctive Relief against Defendant A.

Matalucci & Son Memorial Artisans, LLC (“Matalucci” or “Defendant”), shows as follows:



                                NATURE OF THE ACTION

                                                 1.

       This is a civil action for copyright infringement under the Copyright Act of 1976, as

amended, 17 U.S.C. §§ 101, et seq. (the “Copyright Act”).



                      THE PARTIES, JURISDICTION, AND VENUE

                                                 2.

       Design Mart is a Georgia corporation with its principal place of business at 132 College

Avenue, Elberton, Elbert County, Georgia, 30635.
         Case 3:21-cv-00022-CAR Document 1 Filed 03/10/21 Page 2 of 16




                                                  3.

       Upon information and belief, Matalucci is a New Jersey Corporation with its principal

place of business 905 Route 47, South Dennis, New Jersey 08245.

                                                  4.

       Upon information and belief, Matalucci may be served with summons and process by

service upon its registered agent, Zeth Matalucci, at 1066 Route 83, P.O. Box 234, South Dennis,

New Jersey 08245.

                                                  5.

       Original jurisdiction of the court is invoked under 28 U.S.C. § 1331 and §1338(a) as this

action presents a federal question and arises under an Act of Congress related to copyrights, namely

the Copyright Act of 1976, 17 U.S.C. §§ 101, et seq.

                                                  6.

       This court has personal jurisdiction over Defendant because (i) Defendant specifically

initiated contact, and contracted, with Design Mart, which is a resident of Georgia, and has been a

resident of Georgia for the entire time in which Defendant utilized its copyrighted works, (ii)

Defendant utilized a license for copyrighted works that were created and developed by Design

Mart within the State of Georgia, (iii) Defendant utilized those copyrighted works for over eleven

years, renewed the license with Design Mart, and communicated with Design Mart in Georgia

numerous times during that time period, and (iv) the injury to Design Mart by Defendant’s

unauthorized and unlicensed use of its copyrighted works accrued in Georgia, the state of Design

Mart’s residence. See Licciardello v. Lovelady, 544 F.3d 1280, 1283 (11th Cir. 2008) (injury from

trademark infringement occurs where the holder of the mark resides); Geodetic Servs. v.

Zhenghzou Sunward Tech. Co., Case No: 8:13-cv-1595-T-35TBM, 2014 WL 12620804 (M.D. Fla.




                                               -2-
          Case 3:21-cv-00022-CAR Document 1 Filed 03/10/21 Page 3 of 16




Apr. 4, 2014) (applying Licciardello to a copyright infringement case). Accordingly, Defendant

is subject to personal jurisdiction in Georgia under O.C.G.A. § § 9-10-91(1), (2) & (3) because it

(i) transacts business in Georgia, (ii) committed a tortious act in Georgia, and/or (iii) committed a

tortious injury outside Georgia that resulted in an injury in Georgia and regularly does or solicits

business, or engages in any other persistent course of conduct, or derives substantial revenue from

goods used or consumed or services rendered in Georgia. The Court further has personal

jurisdiction over Defendant because, based on the allegations stated above, sufficient minimum

contacts exist between Defendant and Georgia and maintenance of this action against Defendant

in this forum does not offend traditional notions of fair play and substantial justice.

                                                   7.

        Venue is proper in this District under 28 U.S.C. § 1391 (b)(2) and (c)(2) because this court

has personal jurisdiction over Defendant in this District and a substantial part of the events or acts

giving rise to the claims occurred in this District in that Defendant has transacted business in this

District and has committed acts of copyright infringement in this District and has infringed

copyrights held by Plaintiff in this District.



                                   FACTUAL ALLEGATIONS

                               The Monument Designer and Catalog

                                                   8.

        Design Mart is a Georgia corporation which, among other things, creates copyrighted

designs and stencils for gravestones and monuments. Design Mart also offers an online design

program via which its clients may utilize Design Mart’s copyrighted designs to customize

gravestones and monuments for end users. Design Mart refers to the product that aggregates its




                                                 -3-
         Case 3:21-cv-00022-CAR Document 1 Filed 03/10/21 Page 4 of 16




offerings, concepts, drawings, renderings, and programs as the “Monument Designer and

Catalog.” The Monument Designer and Catalog contains designs and images authored,

copyrighted, and owned by Design Mart (collectively, the “Design Mart Images”) as well as

derivative works of the Design Mart Images such as brochures, catalogs, software, etc. Notably,

renderings, brochures and catalogs of the Design Mart Images contained in the Monument

Designer and Catalog feature copyright management information, a representative example of

which, taken from Defendant’s website on or about October 19, 2020, is attached hereto as Exhibit

1 and incorporated by reference herein. Design Mart offers the Monument Designer and Catalog

for licensing at its office in Elberton, Georgia, and via its website, designmart.com.

                                                  9.

       From around 2009 up through March, 2020, Design Mart licensed to Matalucci its Online

Designer and Catalog pursuant to an End User License Agreement (the “Licensing Agreement”).

Pursuant to the Licensing Agreement, Design Mart licensed Matalucci to:

       (a)     Subscribe/join to and to use Design Mart's Monument Designer & Catalog;

       (b)     Access Design Mart's Monument Designer as long as a subscription/membership

               is active;

       (c)     Access Design Mart's Catalog as long as a subscription/membership is active; and

       (d)     Print, email, mail, or fax monument concepts created with Design Mart's

               Monument Designer & Catalog for the purpose of giving or presenting them to

               families who are making a decision on a monument or to a manufacturer who will

               be processing the monument.

A true and correct copy of the Licensing Agreement is attached hereto as Exhibit 2 and

incorporated herein by reference.




                                                -4-
         Case 3:21-cv-00022-CAR Document 1 Filed 03/10/21 Page 5 of 16




                                                 10.

       Pursuant to the Licensing Agreement, Matalucci obtained no ownership of the Online

Designer and Catalog, nor to any components or derivative works associated therewith. Rather,

the Online Designer and Catalog, as well as all components and derivative works, remained the

sole property of Design Mart. As provided therein, “Users/subscribers/members have no title to

the copyrighted intellectual property [included in] Design Mart's Online Catalog & Monument

Designer … All ownership remains with Design Mart, LLC.”

                                                 11.

       The Licensing Agreement provides that “[m]onuments and components included in Design

Mart's Online Monument Designer & Catalog may not be redistributed, printed in brochures or

featured on web sites or provided to others via any other printed or electronic media.” It further

provides that its copyrighted intellectual property “may not be resold or repackaged for release or

distribution as a whole or in parts” and that “Users/subscribers/members may not reverse engineer,

copy, decompile, or disassemble” any part of the Monument Designer and Catalog, including any

derivative works.

                                                 12.

       In or around March, 2020, Matalucci notified Design Mart that it wished to cancel its

subscription to the Monument Designer and Catalog. Design Mart promptly canceled Matalucci’s

subscription to the Monument Designer and Catalog and refunded its payment for March 9, 2020.

A true and correct copy of Design Mart’s email correspondence with Matalucci regarding

cancellation of the subscription and payment refund is attached hereto as Exhibit 3 and

incorporated by reference herein.




                                               -5-
         Case 3:21-cv-00022-CAR Document 1 Filed 03/10/21 Page 6 of 16




                                    Matalucci’s Infringement

                                                 13.

       Despite the fact that it canceled its subscription, without Design Mart’s license or

permission, in violation of the Licensing Agreement for access to the Monument Designer and

Catalog, and with a reckless disregard for Plaintiff’s rights in the Design Mart Images, Matalucci

willfully and purposefully continued to utilize some or all of the Design Mart Images specifically,

and the Monument Designer and Catalog generally, after March, 2020, in furtherance of its

ongoing effort to produce and sell monuments.

                                                 14.

       Matalucci has copied the original constituent elements of multiple of the Design Mart

Images and continues to offer those for sale and use via its physical office and its website,

http://amatalucci.com. A true and correct copy of screenshots taken from Defendant’s website on

or about October 19, 2020 featuring the Design Mart Images is attached hereto as Exhibit 4 and

incorporated by reference herein.

                                                 15.

       The Matalucci designs copy the constituent elements of the Design Mart Images as

copyrighted by Design Mart, including those protected by the following copyright registrations:

               [ 1 ] VA0000354921 1988 – Design Mart Child art : memorials for youth "our

               most beloved possession."

               [ 2 ] VA0000435317 1990 – Design Mart Closer walk : a memorial design

               presentation : ser. D947-996.

               [ 3 ] VA0000354922 1988 – Design Mart Cremation : a memorial design

               presentation.




                                               -6-
Case 3:21-cv-00022-CAR Document 1 Filed 03/10/21 Page 7 of 16




    [ 4 ] VA0001817025 1996 – Design Mart D-Mart Disks III-Classic Components.

    [ 5 ] VA0000669066 1994 – Design Mart Design Mart disks : vol. 1 : four disk

    set, 92 components for creating full-size details of virtually any D-Mart design.

    [ 6 ] VA0000354926 1988 – Design Mart Tributes of love : a memorial design

    presentation : series D97-1047.

    [ 7 ] VA0000354928 1988 – Design Mart Forever in memory : set of designs.

    [ 8 ] VA0000354929 1988 – Design Mart Forever in memory.

    [ 9 ] VA0000455523 1991 – Design Mart [Design Mart Monumental design nos.

    D1157-D1172].

    [ 10 ] VA0000650406 1994 – Design Mart [Design Mart monumental design] :

    no. D-mart 1218--D-mart 1231.

    [ 11 ] VA0000701330 1995 – Design Mart Design Mart monumental design : no.

    D1232-D1250.

    [ 12 ] VA0000780441 1996 – Design Mart [Design Mart monumental design] :

    no. 1251-1263.

    [ 13 ] VA0000814847 1996 – Design Mart [Design Mart monumental design] :

    no. D1264-D1270, D1273-D1277.

    [ 14 ] VA0000850920 1998 – Design Mart Design Mart monumental design : no.

    D1278-1289.

    [ 15 ] VA0000922532 1998 – Design Mart [Design Mart monumental design no.

    D1290-1305].

    [ 16 ] VA0001071840 2000 – Design Mart, LLC Design mart monumental design

    : no. D1318-1340.




                                      -7-
Case 3:21-cv-00022-CAR Document 1 Filed 03/10/21 Page 8 of 16




    [ 17 ] VA0000457608 1991 – Design Mart Design Mart Monumental designs nos.

    D904-D914 in card form.

    [ 18 ] VA0000463442 1991 – Design Mart [Design Mart Monumental design nos.

    D915-D925].

    [ 19 ] VA0000463227 1991 – Design Mart [Design Mart monumental design :

    no.] D926-D938.

    [ 20 ] VA0000463228 1991 – Design Mart [Design Mart monumental design :

    no.] D939-D946.

    [ 21 ] VA0000415859 1990 – Design Mart [Design Mart monumental design :

    nos. D867-D879].

    [ 22 ] VA0000432745 1990 – Design Mart [Design Mart monumental design :

    nos. D880-D892].

    [ 23 ] VA0000432746 1990 – Design Mart [Design Mart monumental design :

    nos. D893-D903].

    [ 24 ] VA0000432041 1990 – Design Mart. Eternal life : a memorial design

    presentation : ser. D821-866.

    [ 25 ] VA0000979818 1999 – Design Mart First impressions : ser. D7001-7155.

    [ 26 ] VA0000354927 1988 – Design Mart Granite-bronze : a memorial design

    presentation.

    [ 27 ] VA0000460199 1991 – Design Mart In remembrance memorial designs.

    [ 28 ] VA0000699617 1995 – Design Mart Life everlasting : no. D136-D201.

    [ 29 ] VA0000742180 1995 – Design Mart Memories etched in stone : a memorial

    design presentation : ser. D80-D134.




                                    -8-
Case 3:21-cv-00022-CAR Document 1 Filed 03/10/21 Page 9 of 16




    [ 30 ] VA0000638641 1994 – Design Mart Memories etched in stone : no. 101-

    135.

    [ 31 ] VA0001817022 2003 – Design Mart Monument Clip Art-Miscellaneous

    Artwork.

    [ 32 ] VA0000414654 1990 – Design Mart Reflections of life : [no.] D648-D684.

    [ 33 ] VA0000354924 1988 – Design Mart Shrine of memory.

    [ 34 ] VA0000354920 1988 – Design Mart Thy victory thy promise : a memorial

    marker presentation.

    [ 35 ] VA0000354925 1988 – Design Mart "While we live" select your

    personalized family memorial pre-need.

    [ 36 ] VA0000402010 1989 – Design Mart Your pet : [no.] D8037P-D8086P,

    D1PM-D32PM.

    [ 37 ] VA0001186306 2002 – Design Mart, LLC Journeys remembered : a

    memorial marker presentation : ser. D201-D276.

    [ 38 ] VA0001150607 2001 – Design Mart, LLC Legacies in stone.

    [ 39 ] VAu000981365 2009 – Design Mart, LLC Loving Memories D1465-

    D1529.

    [ 40 ] VA0001216825 2003 – Design Mart, LLC Seasons cherished : a monument

    design presentation : ser. D1335-D1405.

    [ 41 ] VA0001407032 2006 – Design Mart, LLC We remember.

    [ 42 ] VA0001408395 2007 – Design Mart, LLC We remember : D1406-D1464.

    [ 43 ] VA0000391777 1990 – Design Mart D-mart : [no.] 1143-1156.




                                  -9-
         Case 3:21-cv-00022-CAR Document 1 Filed 03/10/21 Page 10 of 16




               [ 44 ] VA0000526422 1992 – Design Mart Design Mart monument designs : no.

               D1191-D1202.

               [ 45 ] VA0000352933 1988 – Design Mart [Design Mart monumental design :

               no.] D-Mart 1119-1131.

               [ 46 ] VA0000568455 1993 – Design Mart Design Mart monumental design : no.

               D1203-D1217.

               [ 47 ] VA0001033110 1999 – Design Mart [Design Mart monumental design] :

               no. D1306-D1317.

               [ 48 ] VA0000366876 1989 – Design Mart Design Mart Monumental design :

               nos. 1132-1142.

               [ 49 ] VA0000470768 1991 – Design Mart Design Mart monumental designs : no.

               D1157-D1171.

               [ 50 ] VA0000475578 1991 – Design Mart Dmart : no. 1173-1190.

               [ 51 ] VA0000354923 1988 – Design Mart Memorial designs.

               [ 52 ] VA0002000242 2015 – Design Mart Monument Clip Art-Miscellaneous

               Artwork 2.

               [ 53 ] VA0000354930 1988 – Design Mart New designs : [no.] 1092-1118.

       True and correct copies of the copyright registrations for these works are attached hereto

collectively as Exhibits 5 and 6 and incorporated by reference herein.

                                                  16.

       When it came to Design Mart’s attention that Matalucci was reproducing and offering for

sale and use the Design Mart Images, counsel for Design Mart, prior to the filing of this Complaint,

notified Matalucci of its infringing use and misappropriation of the Design Mart Images and




                                               - 10 -
          Case 3:21-cv-00022-CAR Document 1 Filed 03/10/21 Page 11 of 16




demanded that Matalucci immediately desist and discontinue production, sale, copying, modifying

and advertising of same. A copy of counsel’s first cease and desist letter sent to Defendant is

attached hereto as Exhibit 7 and incorporated by reference herein.

                                                   17.

        Matalucci failed to respond in any way to counsel’s first cease and desist letter.

Subsequently, and still prior to filing of this Complaint, counsel sent a second cease and desist

letter with a renewed demand, a copy of which is attached hereto as Exhibit 8 and incorporated by

reference herein. Matalucci also failed to respond in any way to counsel’s second cease and desist

letter and, on information and belief, still offers for sale and use infringing copies of the Design

Mart Images at its physical location and via its website.

                                                   18.

        By this action, Design Mart seeks injunctive relief to stop Defendant’s illegal infringement

and to recover the damages Design Mart has sustained due to Defendant’s unlawful infringing

activities.



                                           COUNT ONE

                 Copyright Infringement Pursuant to 17 U.S.C. §§ 106 and 501

                                                   19.

        Plaintiff incorporates the above paragraphs as if fully restated herein.

                                                   20.

        The Design Mart Images are original works which constitute protectable work under the

Copyright Act.




                                                - 11 -
         Case 3:21-cv-00022-CAR Document 1 Filed 03/10/21 Page 12 of 16




                                                   21.

       Design Mart is the exclusive owner and copyright holder of the Monument Designer and

Catalog and the Design Mart Images, including those identified above.

                                                   22.

       The issuance of the copyright registrations for the Design Mart Images constitutes prima

facie evidence of the validity of Design Mart’s copyright in the Design Mart Images and of the

facts stated in the copyright registration certificates pursuant to 17 U.S.C. § 410.

                                                   23.

       In violation of 17 U.S.C. § 101 et seq, Defendant has infringed on Design Mart’s copyright

by copying the original components of the Design Mart Images, representing them as Defendant’s

original creation, creating derivative works of the Design Mart Images, and offering them for sale

or use. Such copying violates not only the Copyright Right but also the Licensing Agreement.

                                                   24.

       Through its subscription to the Monument Designer and Catalog, Defendant had actual

access to the Design Mart Images and reasonable opportunity to copy, derivate and use same.

                                                   25.

       Defendant’s copied images are substantially similar to, if not exact copies of, the Design

Mart Images because an ordinary observer would conclude that Defendant unlawfully took

protectable material of substance and value from the Design Mart Images in creating its own

copied images.

                                                   26.

       Design Mart is entitled to a rebuttable presumption of copying because Defendant was

formerly a licensee of the Monument Designer and Catalog and Defendant’s copied images are




                                                - 12 -
         Case 3:21-cv-00022-CAR Document 1 Filed 03/10/21 Page 13 of 16




identical and, thus, so strikingly similar to the Design Mart Images that a reasonable person would

assume that Defendant copied the Design Mart Images and that there is no possibility of

independent creation, coincidence, or prior common source.

                                                  27.

       After it canceled its subscription to the Monument Designer and Catalog, Defendant did

not and does not have any license, authorization, permission, or consent to reproduce, sell, use, or

distribute the Design Mart Images.

                                                  28.

       Defendant has directly infringed Design Mart’s copyright in and relating to the Design

Mart Images by reproducing the copyrighted works and distributing the copyrighted works to the

public on an unlimited and unrestricted basis without license or permission in violation of Sections

106 and 501 of the Copyright Act, 17 U.S.C. §§ 106 and 501.

                                                  29.

       Defendant’s acts of infringement were and are willful, intentional, and purposeful, in

disregard of, and with indifference to, Design Mart’s rights.

                                                  30.

       As a result of Defendant’s wrongful conduct, Design Mart is entitled to recover from

Defendant the damages it has sustained, and will sustain, and any gains, profits, and advantages

obtained by Defendant as a result of Defendant’s willful acts of infringement alleged in this

Complaint, as well as attorneys’ fees, and including but not limited to such damages and awards

as are available under 17 U.S.C. §§ 504-505.




                                               - 13 -
         Case 3:21-cv-00022-CAR Document 1 Filed 03/10/21 Page 14 of 16




                                                   31.

       As a result of Defendant’s wrongful conduct, Design Mart has sustained and will continue

to sustain substantial, immediate, and irreparable injury, for which there is no adequate remedy at

law. Unless enjoined and restrained by this court, Defendant has no future legal impediment to

infringing Design Mart’s rights in their copyrighted work. Accordingly, Design Mart is entitled to

preliminary and permanent injunctive relief.

                                                   32.

       Based on Defendant’s blatant disregard of Design Mart’s cease and desist letters,

Defendant’s refusal to acknowledge the damage caused by its copyright infringement, and

Defendant’s continued infringement of the Design Mart Images, Design Mart has been and will

continue to be damaged by Defendant’s infringement in an amount to be proved at trial.



                                  DEMAND FOR JURY TRIAL

       Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Design Mart hereby demands

a jury trial on all issues, claims, and demands so triable.



                                     PRAYER FOR RELIEF

       WHEREFORE, having fully stated its Complaint for Copyright Infringement, Damages,

and Injunctive Relief, Design Mart respectfully prays that the Court grant the following relief:

       a)      Judgment in favor of Design Mart, and against Defendant, on all counts of Design

               Mart’s Complaint;




                                                - 14 -
 Case 3:21-cv-00022-CAR Document 1 Filed 03/10/21 Page 15 of 16




b)   An order enjoining Defendant and Defendant’s officers, agents, employees, and

     those acting in concert or conspiracy with it, preliminarily and permanently from

     infringing on the Design Mart Images;

c)   An order requiring Defendant to permanently modify its website, databases and

     executable code storage mediums to completely remove its infringing and copied

     and/or derivative images of the Design Mart Images, including an order to impound

     and ultimately destroy, on such terms as the court may deem reasonable, any

     records or material or device or product involved in Defendant’s copyright

     infringement and in the custody or control of Defendant;

d)   An award of all damages and losses, the exact sum to be proven at the time of trial,

     as available under the Copyright Act;

e)   An award of all of Defendant’s profits attributable to the infringement of the Design

     Mart Images;

f)   An award of pre-judgment interest as permitted by applicable law;

g)   An award of attorneys’ fees and expenses incurred in connection with this action;

     and

h)   Any other remedy to which Design Mart is entitled under applicable law as

     determined by this Court.




                                    - 15 -
        Case 3:21-cv-00022-CAR Document 1 Filed 03/10/21 Page 16 of 16




      Respectfully submitted this 9th day of February, 2021.



                                                     BLAINE A. NORRIS, PC


                                                     /s/ John R. Autry
                                                     BLAINE A. NORRIS
                                                     Ga. Bar No. 545832
                                                     JOHN R. AUTRY
                                                     Ga. Bar No. 029029
                                                     Attorneys for Plaintiff
1143 Prince Avenue
Athens, Georgia 30606
(706) 850-9400
(706) 850-9405 fax
blaine@NorrisInjuryLaw.com
john@NorrisInjuryLaw.com




                                                     SMITH TEMPEL BLAHA LLC


                                                     /s/ Matthew T. Hoots
                                                     MATTHEW T. HOOTS
                                                     Ga. Bar No. 101080
                                                     Attorneys for Plaintiff
1055 Prince Avenue
Athens, Georgia 30606
(706) 621-5773
mhoots@srtslaw.com




                                            - 16 -
